                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                         )    DOCKET NO. 3:06CR151-9
                                                 )
              v.                                 )    ORDER TO DISMISS INDICTMENT
                                                 )    WITHOUT PREJUDICE
JESSE DAVID REID (9)                             )
                                                 )
                      Defendant.                 )
                                                 )
                                                 )


       On the government’s motion to dismiss the Indictment against JESSE DAVID REID in

the above-captioned matter, for the reasons stated in the government’s motion,

       IT IS THEREFORE ORDERED that the Indictment against JESSE DAVID REID in

Case No: 3:06CR151 be dismissed without prejudice.

       IT IS SO ORDERED.

                                               Signed: January 10, 2008




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